Case 1:20-cv-03395-BMC          Document 153        Filed 12/23/22      Page 1 of 16 PageID #: 3060




                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF NEW YORK


  FULL CIRCLE UNITED, LLC,                             CASE NO. 1:20-CV-03395-BMC

                  Plaintiff,

     v.

  BAY TEK ENTERTAINMENT, INC.,

                  Defendant.



  BAY TEK ENTERTAINMENT, INC.,

                  Counterclaim Plaintiff,

     v.

  FULL CIRCLE UNITED, LLC,

                  Counterclaim Defendant,

     and

  ERIC PAVONY,

                  Additional Counterclaim
                  Defendant.


                 SUPPLEMENTAL DECLARATION OF JEFFREY M. MOVIT

           I, Jeffrey M. Movit, pursuant to 28 U.S.C. § 1746, declare as follows:

           1.     I am a Partner, through my Professional Corporation, of the law firm Mitchell

  Silberberg & Knupp LLP (“MSK”), which is counsel for Defendant/Counterclaim Plaintiff Bay

  Tek Entertainment, Inc. (“Bay Tek”) in the above-captioned action. I make the statements herein

  on personal knowledge.



                                                   1
Case 1:20-cv-03395-BMC         Document 153        Filed 12/23/22     Page 2 of 16 PageID #: 3061




                       Audiovisual Exhibits Being Lodged with the Court

         2.      Annexed hereto as Video Exhibit 1, being lodged with the Court under separate

  cover, is a true and correct copy of a video marked as Exhibit 14 at the Deposition of Holly

  Hampton, consisting of The Roll for Ohio Skee-Ball Tournament Video available at

  https://www.youtube.com/watch?v=1tB34DiG-LE, dated November 5, 2018.

         3.      Annexed hereto as Video Exhibit 2, being lodged with the Court under separate

  cover, is a true and correct copy of a video bearing Bates number FCU000000183, consisting of

  the September 6, 2017 Diner Video.

         4.      Annexed hereto as Video Exhibit 3, being lodged with the Court under separate

  cover, is a true and correct copy of a video bearing Bates number BT0000516, consisting of

  “State of the Brewnion 2018.”

         5.      Annexed hereto as Video Exhibit 4, being lodged with the Court under separate

  cover, is a true and correct copy of The Bar Stool Yak Live Video, dated August 12, 2021,

  available at https://www.youtube.com/watch?v=EZ3viLrl2Zo.

         6.      Annexed hereto as Video Exhibit 5, being lodged with the Court under separate

  cover, is a true and correct copy of a video bearing Bates number FCU000010110, consisting of

  Video of Call between Pavony and Petro dated March 23, 2018.

         7.      Annexed hereto as Video Exhibit 6, being lodged with the Court under separate

  cover, is a true and correct copy of a video bearing Bates number FCU000010111, consisting of

  Video of Call Between Pavony and Petro dated December 15, 2016 (part one).

         8.      Annexed hereto as Video Exhibit 7, being lodged with the Court under separate

  cover, is a true and correct copy of a video bearing Bates FCU000010112, consisting of Video of

  Call Between Pavony and Petro dated December 15, 2016 (part two).

                                                  2
Case 1:20-cv-03395-BMC            Document 153       Filed 12/23/22      Page 3 of 16 PageID #: 3062




              9.    Annexed hereto as Video Exhibit 8, being lodged with the Court under separate

  cover, is a true and correct copy of a video bearing Bates number FCU000010113, consisting of

  Video of Call Between Pavony and Petro dated December 15, 2016 (part three).

              10.   Annexed hereto as Video Exhibit 9, being lodged with the Court under separate

  cover, is a true and correct copy of a video bearing Bates number FCU000010114, consisting of

  Video of Call Between Pavony and Petro dated September 28, 2018 (part one).

              11.   Annexed hereto as Video Exhibit 10, being lodged with the Court under separate

  cover, is a true and correct copy of a video bearing Bates number FCU000010115, consisting of

  Video of Call Between Pavony and Petro dated September 28, 2018 (part two).

              12.   Annexed hereto as Video Exhibit 11, being lodged with the Court under separate

  cover, is a true and correct copy of a video bearing Bates number FCU000010116, consisting of

  Video of Call Between Pavony and Petro dated September 28, 2018 (part three).

              13.   Annexed hereto as Video Exhibit 12, being lodged with the Court under separate

  cover, is a true and correct copy of a video bearing Bates number FCU000010124, consisting of

  Video of Call Between Pavony and Petro dated August 1, 2018.
  Exhibit 1


                                 The July 17, 2014 License Agreement

              14.   Annexed hereto as Exhibit 2 is a true and correct copy of the July 17, 2014

  Confidential Trademark License Agreement (the “License Agreement”), marked as Exhibit 4 and

  authenticated at the June 13, 2022 Deposition of Counterclaim Defendant Eric Pavony. 1



                                  Deposition Testimony in this Matter

  1
   Regular (i.e. non-video) exhibits referenced herein are numbered consecutively following
  Exhibit 1 to the initial Declaration of Jeffrey M. Movit in support of Bay Tek’s Motion for
  Judgment on the Pleadings, filed September 30, 2021 (Dkt. No. 35).
                                                    3
Case 1:20-cv-03395-BMC         Document 153        Filed 12/23/22     Page 4 of 16 PageID #: 3063




  Depositions Taken by Bay Tek

          15.    Annexed hereto as Exhibit 3 are true and correct copies of pages excerpted from

  the transcript of the Deposition of Counterclaim Defendant Eric Pavony, in his individual

  capacity and as designated representative of Plaintiff/Counterclaim Defendant Full Circle

  United, LLC (“FCU”), taken in this matter on July 13-14, 2022.

          16.    Annexed hereto as Exhibit 4 are true and correct copies of pages excerpted from

  the transcript of the Deposition of Eric Wikman, in his individual capacity and as designated

  representative of Plaintiff/Counterclaim Defendant FCU, taken in this matter on May 25-26,

  2022.

          17.    Annexed hereto as Exhibit 5 are true and correct copies of pages excerpted from

  the transcript of the Deposition of Eric Cooper taken in this matter on June 6, 2022 and June 8,

  2022.

          18.    Annexed hereto as Exhibit 6 are true and correct copies of pages excerpted from

  the transcript of the Deposition of Laura Smith taken in this matter on July 6, 2022.


  Depositions Taken by FCU

          19.    Annexed hereto as Exhibit 7 are true and correct copies of pages excerpted from

  the transcript of the Deposition of Holly Hampton, in her individual capacity and as designated

  representative of Bay Tek, taken in this matter on June 20, 22, and 30, 2022.

          20.    Annexed hereto as Exhibit 8 are true and correct copies of pages excerpted from

  the transcript of the Deposition of Larry Treankler taken in this matter on July 12, 2022.

          21.    Annexed hereto as Exhibit 9 are true and correct copies of pages excerpted from

  the transcript of the Deposition of Eric Schadrie taken in this matter on March 8, 2022.



                                                  4
Case 1:20-cv-03395-BMC         Document 153        Filed 12/23/22      Page 5 of 16 PageID #: 3064




         22.     Annexed hereto as Exhibit 10 are true and correct copies of pages excerpted from

  the transcript of the Deposition of George Petro taken in this matter on January 21, 2022.

         23.     Annexed hereto as Exhibit 11 are true and correct copies of pages excerpted from

  the transcript of the Deposition of Gaetan Philippon taken in this matter on March 10, 2022.

         24.     Annexed hereto as Exhibit 12 are true and correct copies of pages excerpted from

  the transcript of the Deposition of Rick Rochetti taken in this matter on May 13, 2022.


                                  Exhibits Marked at Depositions

         25.     Annexed hereto as Exhibit 13 is a true and correct copy of a document marked as

  Exhibit 8 at the Deposition of Eric Wikman, bearing Bates numbers FCU000010267 through

  FCU000010271.

         26.     Annexed hereto as Exhibit 14 is a true and correct copy of a document marked as

  Exhibit 23 at the Deposition of Eric Wikman, consisting of a true and correct printout of a

  document produced in this action as FCU_EXPERT_0000966.xlsx.

         27.     Attached hereto as Exhibit 15 is a true and correct copy of a document marked as

  Exhibit 07 at the Deposition of Eric Pavony, bearing Bates numbers FCU EXPERT 0001098

  through FCU_EXPERT_0001120.

         28.     Annexed hereto as Exhibit 16 is a true and correct copy of a document marked as

  Exhibit 18 at the Deposition of Eric Pavony, which was accessed and printed by a member of my

  office working under my direction and supervision from the URL

  https://www.facebook.com/fullcirclebar/photos/a.333181100316/10164341435435317/ on or

  about June 9, 2022.




                                                  5
Case 1:20-cv-03395-BMC        Document 153        Filed 12/23/22     Page 6 of 16 PageID #: 3065




         29.    Attached hereto as Exhibit 17 is a true and correct copy of a document marked as

  Exhibit 21 at the Deposition of Eric Pavony, dated May 9, 2019 and bearing Bates numbers

  FCU000005629 through FCU000005634.

         30.    Attached hereto as Exhibit 18 is a true and correct copy of a document marked as

  Exhibit 23 at the Deposition of Eric Pavony, dated December 17, 2019 and bearing Bates

  numbers FCU000002974 through FCU000002982.

         31.    Annexed hereto as Exhibit 19 is a true and correct copy of a document marked as

  Exhibit 33 at the Deposition of Gaetan Philippon, titled “CONFIDENTIAL SETTLEMENT

  AGREEMENT,” bearing Bates numbers BT0004416 through BT0004429.

         32.    Annexed hereto as Exhibit 20 is a true and correct copy of a document dated

  February 23, 2016 marked as Exhibit 38 at the Deposition of Gaetan Philippon, bearing Bates

  numbers BT0003832 through BT0003834.

         33.    Annexed hereto as Exhibit 21 is a true and correct copy of a document marked as

  Exhibit 39 at the Deposition of Gaetan Philippon, titled “ASSIGNMENT AND ASSUMPTION

  AGREEMENT.”

         34.    Attached hereto as Exhibit 22 is a true and correct copy of a document marked as

  Exhibit 21 at the Deposition of Eric Schadrie, dated July 20, 2017 and bearing Bates numbers

  FCU000002453 through FCU000002455.

         35.    Annexed hereto as Exhibit 23 is a true and correct copy of a document marked as

  Exhibit 32 at the Deposition of Eric Cooper, containing a document bearing Bates numbers

  FCU000015850 through FCU000015857.

         36.    Annexed hereto as Exhibit 24 is a true and correct copy of a document marked as

  Exhibit 33 at the Deposition of Eric Cooper, containing a web page printed from the website

                                                 6
Case 1:20-cv-03395-BMC         Document 153       Filed 12/23/22      Page 7 of 16 PageID #: 3066




  www.Brewskeeball.com on or about September 2, 2020 by a member of my office working

  under my direction and supervision.

         37.    Annexed hereto as Exhibit 25 is a true and correct copy of a document marked as

  Exhibit 34 at the Deposition of Eric Cooper, containing a document bearing Bates numbers

  FCU000020350 through FCU000020352


         38.    Annexed hereto as Exhibit 26 is a true and correct copy of the initial report of

  FCU’s expert Laura Smith, marked as Exhibit 2 at Ms. Smith’s deposition.


         39.    Annexed hereto as Exhibit 27 is a true and correct copy of the reply report of

  FCU’s expert Laura Smith, marked as Exhibit 3 at Ms. Smith’s deposition.


                           Discovery Responses of FCU and Eric Pavony

         40.    Annexed hereto as Exhibit 28 is a true and correct copy of FCU’s Amended

  Response to Bay Tek’s First Set of Requests for Admission, served on March 5, 2021. 0125

  FCU RFA01 3/5/2021.

         41.    Annexed hereto as Exhibit 29 is a true and correct copy of Eric Pavony’s

  Amended Response to Bay Tek’s First Set of Requests for Admission, served on March 5, 2021.

  0304 Pavony RFA01 3/5/2021.

         42.    Annexed hereto as Exhibit 30 is a true and correct copy of Eric Pavony’s

  Amended Responses to Bay Tek’s Second Set of Requests for Admission, served on December

  1, 2021. 0317 Pavony RFA02 12/1/21.

         43.    Annexed hereto as Exhibit 31 is a true and correct copy of FCU’s Amended

  Answers to Bay Tek’s First Set of Interrogatories, marked as Exhibit 16 at the Deposition of Eric

  Wikman in this matter.

                                                  7
Case 1:20-cv-03395-BMC        Document 153       Filed 12/23/22     Page 8 of 16 PageID #: 3067




         44.    Annexed hereto as Exhibit 32 is a true and correct copy of Eric Pavony’s

  Amended Answers to Bay Tek’s First Set of Interrogatories, served on March 5, 2021. 0306

  Pavony Amended Rogs01 3/5/2021.

         45.    Annexed hereto as Exhibit 33 is a true and correct copy of FCU’s Amended

  Answers to Bay Tek’s Second Set of Interrogatories, served on December 15, 2021. 0134

  Amended Rogs02 12-15-21.

         46.    Annexed hereto as Exhibit 34 is a true and correct copy of FCU’s further

  Amended Answers to Bay Tek’s Second Set of Interrogatories served on January 7, 2022. 0135

  FCU Amended Rogs 10 and 25 1-7-22.


                    Additional Documents Produced by Full Circle United

         47.    Annexed hereto as Exhibit 35 is a true and correct copy of a document produced

  by Plaintiff and Counterclaim Defendant FCU in this matter, bearing Bates number

  FCU000002782.

         48.    Annexed hereto as Exhibit 36 is a true and correct copy of a document produced

  by Plaintiff and Counterclaim Defendant FCU in this matter, bearing Bates numbers

  FCU000002788 through FCU000002801.

         49.    Annexed hereto as Exhibit 37 is a true and correct copy of a document produced

  by Plaintiff and Counterclaim Defendant FCU in this matter, bearing Bates numbers

  FCU000005621 through FCU000005626.

         50.    Annexed hereto as Exhibit 38 is a true and correct copy of a document produced

  by Plaintiff and Counterclaim Defendant FCU in this matter, bearing Bates numbers

  FCU000005627 through FCU000005628.



                                                8
Case 1:20-cv-03395-BMC        Document 153       Filed 12/23/22      Page 9 of 16 PageID #: 3068




         51.    Annexed hereto as Exhibit 39 is a true and correct copy of a document produced

  by Plaintiff and Counterclaim Defendant FCU in this matter, bearing Bates numbers

  FCU000005689 through FCU000005692.

         52.    Annexed hereto as Exhibit 40 is a true and correct copy of a document produced

  by Plaintiff and Counterclaim Defendant FCU in this matter, bearing Bates numbers

  FCU000015294 through FCU000015296.

         53.    Annexed hereto as Exhibit 41 is a true and correct copy of a document produced

  by Plaintiff and Counterclaim Defendant FCU in this matter, bearing Bates number

  FCU000016067.

                         Additional Documents Produced by Bay Tek

         54.    Annexed hereto as Exhibit 42 is a true and correct copy of a printout of a web

  page on the website Brewskeeball.com, which was accessed and printed on or about September

  10, 2020 by an MSK employee working under my direction and supervision, produced by Bay

  Tek in this matter bearing Bates numbers BT0000070 through BT0000091.

         55.    Annexed hereto as Exhibit 43 is a true and correct copy of a page appearing on

  the “merch” section of the website Brewskeeball.com, which was accessed and captured on or

  about September 2, 2020 by an MSK employee working under my direction and supervision,

  produced by Bay Tek in this matter bearing Bates numbers BT0000096 through BT0000098.

         56.    Annexed hereto as Exhibit 44 is a true and correct copy of an image appearing in

  the aforementioned document, referring to “Hepatitis Skee,” captured by an MSK employee

  working under my direction and supervision and produced by Bay Tek in this matter bearing

  Bates number BT0000095.




                                                9
Case 1:20-cv-03395-BMC        Document 153 Filed 12/23/22           Page 10 of 16 PageID #:
                                         3069



       57.    Annexed hereto as Exhibit 45 is a true and correct copy of a page appearing on

the website Brewskeeball.com, which was accessed and printed on or about September 1, 2020,

by an MSK employee working under my direction and supervision, produced by Bay Tek in this

matter bearing Bates numbers BT0000099 through BT00000101.

       58.    Annexed hereto as Exhibit 46 is a true and correct copy of an image depicting

“Full Circle Magazine” which was accessed online and printed on or about June 15, 2021 by an

MSK employee working under my direction and supervision, produced by Bay Tek in this matter

bearing Bates number BT0000102.

       59.    Annexed hereto as Exhibit 47 is a true and correct copy of an appearing on the

website Brewskeeball.com, which was accessed and captured on or about August 28, 2020 by an

MSK employee working under my direction and supervision, produced by Bay Tek in this matter

bearing Bates numbers BT0000113 through BT0000116.

       60.    Annexed hereto as Exhibit 48 is a true and correct copy of a page appearing on

the website Brewskeeball.com, which was accessed and captured on or about August 28, 2020

by an MSK employee working under my direction and supervision, produced by Bay Tek in this

matter bearing Bates numbers BT0000143 through BT0000148.

       61.    Annexed hereto as Exhibit 49 is a true and correct copy of a page appearing on

the website Brewskeeball.com, which was accessed and captured on or about August 28, 2020

by an MSK employee working under my direction and supervision, produced by Bay Tek in this

matter bearing Bates numbers BT0000168 through BT0000175.

       62.    Annexed hereto as Exhibit 50 is a true and correct copy of a page appearing on

the website Brewskeeball.com, which was accessed and captured on or about October 23, 2020




                                              10
Case 1:20-cv-03395-BMC        Document 153 Filed 12/23/22            Page 11 of 16 PageID #:
                                         3070



by an MSK employee working under my direction and supervision, produced by Bay Tek in this

matter bearing Bates numbers BT0000276 through BT0000282.

       63.    Annexed hereto as Exhibit 51 is a true and correct copy of a page appearing on

the website Brewskeeball.com, which was accessed and captured on or about October 23, 2020

by an MSK employee working under my direction and supervision, produced by Bay Tek in this

matter bearing Bates numbers BT0000307 through BT0000324.

       64.    Annexed hereto as Exhibit 52 is a true and correct copy of an online image

accessed and printed on or about June 15, 2021 by an MSK employee working under my

direction and supervision, produced by Bay Tek in this matter bearing Bates number

BT0000448.

       65.    Annexed hereto as Exhibit 53 is a true and correct copy of a document produced

by Bay Tek in this matter bearing Bates numbers BT0001680 through BT00001682.

       66.    Annexed hereto as Exhibit 54 is a true and correct copy of a post on the account

of ‘Full Circle Bar Brooklyn” captured from Instagram.com by an MSK employee working

under my direction and supervision on or about November 29, 2022, bearing Bates numbers

BT0010859 through BT0010863.

       67.    Annexed hereto as Exhibit 55 is a true and correct copy of a post on the account

of ‘Full Circle Bar Brooklyn” captured from Instagram.com by an MSK employee working

under my direction and supervision on or about November 29, 2022, bearing Bates numbers

BT0010864 through BT0010866.

       68.    Annexed hereto as Exhibit 56 is a true and correct copy of a post on the account

of ‘Full Circle Bar Brooklyn” captured from Instagram.com by an MSK employee working




                                              11
Case 1:20-cv-03395-BMC        Document 153 Filed 12/23/22            Page 12 of 16 PageID #:
                                         3071



under my direction and supervision on or about November 29, 2022, bearing Bates numbers

BT0010867 through BT0010874.

       69.    Annexed hereto as Exhibit 57 is a true and correct copy of a post on the account

of ‘Full Circle Bar Brooklyn” captured from Instagram.com by an MSK employee working

under my direction and supervision on or about November 29, 2022, bearing Bates numbers

BT0010875 through BT0010879.

       70.    Annexed hereto as Exhibit 58 is a true and correct copy of a post on the account

of ‘Full Circle Bar Brooklyn” captured from Instagram.com by an MSK employee working

under my direction and supervision on or about November 29, 2022, bearing Bates numbers

BT0010880 through BT0010883.

       71.    Annexed hereto as Exhibit 59 is a true and correct copy of a post on the account

of ‘Full Circle Bar Brooklyn” captured from Instagram.com by an MSK employee working

under my direction and supervision on or about November 29, 2022, bearing Bates numbers

BT0010884 through BT0010887.

       72.    Annexed hereto as Exhibit 60 is a true and correct copy of a post on the account

of ‘Full Circle Bar Brooklyn” captured from Instagram.com by an MSK employee working

under my direction on or about November 29, 2022, bearing Bates numbers BT0010888 through

BT0010892.

       73.    Annexed hereto as Exhibit 61 is a true and correct copy of a post on the account

of ‘Full Circle Bar Brooklyn” captured from Instagram.com by an MSK employee working

under my direction and supervision on or about November 29, 2022, bearing Bates numbers

BT0010893 through BT0010896.




                                              12
Case 1:20-cv-03395-BMC         Document 153 Filed 12/23/22            Page 13 of 16 PageID #:
                                          3072



       74.    Annexed hereto as Exhibit 62 are true and correct copies of web pages captured

from the account “NSBL” on the website Twitch.tv, which were captured by an MSK employee

working under my direction and supervision on or about October 23, 2020, and produced in this

action bearing Bates numbers BT0000426 through BT0000445.


        Documents and Records Retrieved from Official U.S. Government Websites

       75.    Annexed hereto as Exhibit 63 is a true and correct copy of records retrieved and

printed from the website of the United States Patent and Trademark Office at www.uspto.gov

(the “USPTO Website”) by an MSK employee working under my direction and supervision on

or about July 23, 2021, reflecting the status of U.S. Trademark Registration No. 256,496 for

“SKEE-BALL.” .

       76.    Annexed hereto as Exhibit 64 is a true and correct copy of the registration

certificate for U.S. Trademark Registration No. 256,496 for “SKEE-BALL”, retrieved on or

about December 20, 2022 from the USPTO Website by an MSK employee working under my

direction and supervision. …

       77.    Annexed hereto as Exhibit 65 is a true and correct copy of records retrieved and

printed from the USPTO Website by an MSK employee working under my direction and

supervision on or about December 20, 2022, reflecting the status of U.S. Trademark Registration

No. 256,496 for “SKEE-BALL.”

       78.    Annexed hereto as Exhibit 66 are true and correct copies of records retrieved and

printed from the USPTO Website by an MSK employee working under my direction and

supervision on or about December 22, 2022, reflecting various additional live United States

trademark registrations for “SKEE-BALL” owned by Bay Tek.



                                               13
Case 1:20-cv-03395-BMC           Document 153 Filed 12/23/22             Page 14 of 16 PageID #:
                                            3073



       79.       Annexed hereto as Exhibit 67 is a true and correct copy of a recorded document

dated February 23, 2016 and identified as Reel/Frame No. 005752/0286, which was retrieved

from the USPTO Website by an MSK employee working under my direction and supervision on

or about December 21, 2022.

       80.       Annexed hereto as Exhibit 68 is a true and correct copy of the registration

certificate for U.S. Trademark Registration No. 6,389,191, which was retrieved on or about

December 22, 2022 from the USPTO Website by an MSK employee working under my direction

and supervision.

       81.       Annexed hereto as Exhibit 69 is a true and correct copy of records retrieved and

printed from the USPTO Website by an MSK employee working under my direction and

supervision on or about December 20, 2022, reflecting the status of U.S. Trademark Registration

No. 6,389,191.

       82.       Annexed hereto as Exhibit 70 are true and correct copies of records retrieved and

printed from the USPTO Website by an MSK employee working under my direction and

supervision on or about December 21, 2022, reflecting live U.S. trademark registrations for the

word mark “G.I. JOE”.

       83.       Annexed hereto as Exhibit 71 are true and correct copies of records retrieved and

printed from the USPTO Website by an MSK employee working under my direction and

supervision on or about December 21, 2022, reflecting live U.S. trademark registrations for the

word mark “BEYONCÉ” and/or “BEYONCE’”.

       84.       Annexed hereto as Exhibit 72 are true and correct copies of records retrieved and

printed from the USPTO Website by an MSK employee working under my direction and




                                                 14
Case 1:20-cv-03395-BMC         Document 153 Filed 12/23/22             Page 15 of 16 PageID #:
                                          3074



supervision on or about December 21, 2022, reflecting live U.S. trademark registrations for the

word mark “AC/DC”.

       85.     Annexed hereto as Exhibit 73 are true and correct copies of records retrieved and

printed from the USPTO Website by an MSK employee working under my direction and

supervision on or about December 21, 2022, reflecting live U.S. trademark registrations for the

word mark “TEENAGE MUTANT NINJA TURTLES”.

       86.     Annexed hereto as Exhibit 74 are true and correct copies of records retrieved and

printed from the USPTO Website by an MSK employee working under my direction and

supervision on or about December 21, 2022, reflecting a live U.S. trademark registration for the

word mark “PUSSYCAT DOLLS”.

       87.     Annexed hereto as Exhibit 75 are true and correct copies of records retrieved and

printed from the USPTO Website by an MSK employee working under my direction and

supervision on or about December 21, 2022, reflecting live U.S. trademark registrations for the

word mark “SHANG-CHI” and “SHANG-CHI AND THE LEGEND OF THE TEN RINGS”.


     Other Documents Pertaining to FCU, Its Claims, and/or Bay Tek’s Counterclaims

       88.     Annexed hereto as Exhibit 76 is a true and correct copy of a letter to the Court

filed by counsel for FCU in this matter on or about August 9, 2022, identified as Docket No. 129.

       89.     Annexed hereto as Exhibit 77 is a true and correct copy of a page captured from

the website YouTube.com on or about August 23, 2021 by an MSK employee working under my

direction and supervision, bearing the title “The Barstool Yak LIVE from the Brewskee-Ball®

Rematch of the Century presented by Coors Light – YouTube,” reflecting a video available at the

Internet address https://www.youtube.com/watch?v=EZ3viLrl2Zo.



                                               15
Case 1:20-cv-03395-BMC           Document 153 Filed 12/23/22              Page 16 of 16 PageID #:
                                            3075



        I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

        Executed on this 23rd day of December, 2022 at New York, New York.

                                              /s/ Jeffrey M. Movit
                                              JEFFREY M. MOVIT
                                              Executed on December 23, 2022
                                              New York, NY




                                                  16
